      Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 1 of 35




                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

PPD ENTERPRISES, LLC                      §
                                          §
         Plaintiff,                       §
                                          §
V.                                        §        CIVIL ACTION NO. 4:16-CV-00507
                                          §                  Jury Trial Demanded
STRYKER CORPORATION et al.                §
                                          §
         Defendants.                      §

     DEFENDANTS’ MOTION FOR PROTECTION AND MOTION FOR SANCTIONS

         Defendants Stryker Corporation, MAKO Surgical Corp., Howmedica Osteonics

Corp. and Stryker Sales Corporation (collectively “Stryker” or “Defendants”), file this

Motion for Protection and Motion for Sanctions.

                               I.    INTRODUCTION

         Defendants move this Court for a Protective Order that will protect from

public disclosure the confidential information that Defendants previously produced

as “Confidential” and/or “Attorney’s Eyes Only” pursuant to the parties’ Agreed

Protective Order that the Court entered on September 22, 2016. This Motion has

been made necessary by PPD’s counsel’s unreasonable and unprecedented blanket

request that none of Defendants’ over 60,000 documents should have any

confidentiality designation.    Specifically, Defendants seek a protective order

protecting from public disclosure certain exhibits utilized during the deposition of

Dr. Alan Freedhand and Dr. Freedhand’s testimony regarding same.



38943149v.2
      Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 2 of 35




         Defendants also seek a protective order protecting from public disclosure

those documents marked Confidential or Attorney’s Eyes Only and produced in

response to the Court’s February 24, 2017 order among the documents produced by

Defendants at STRPPD00000982-00062936.

         It is undisputed that the Plaintiff and the Defendants are competitors. In this

suit, PPD has sought and Defendants produced confidential and proprietary

information     of   Defendants,   including    highly   sensitive   consultant   and/or

development agreements (and payments related to same), communications with

consultants and customers, marketing strategies, business plans, pricing

information, customer relationships, customer lists, training materials, growth

analysis, HPP performance tracking, project development, case lists, surgical

observations, clinical research, instrumentation plans, product comparisons, and

personnel information related to employees.

         As a matter of federal law and as described through the supporting

declarations, the documents at issue in this motion are confidential and in some

cases contain highly sensitive information requiring an Attorney’s Eyes Only

Designation. Consequently, sufficient good cause exists to grant Defendants’ Motion

for Protective Order, thus maintaining the confidentiality of documents entitled to

protection as a matter of law.

         Finally, PPD should be sanctioned for this unprecedented exercise wasting

time and resources, and for its abuse of the discovery process.


                                            2
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 3 of 35




                                     II.      FACTUAL BACKGROUND

A.         The parties are competitors.

           PPD Enterprises LLC, (“PPD”) is a “distributor of medical products and

devices, including Corin USA, a competitor of Stryker.” Dkt. 1, ¶12. Its sole member

is Angie Domingues. Dkt. 7. Previously, PPD was a sales representative for MAKO,

the manufacturer of various implant devices including the MAKO RESTORIS. In

October 2014, MAKO terminated its Sales Representative Agreement, (the

“Agreement”), with PPD Enterprises LLC, (“PPD”), “due to PPD’s ongoing incurable

breaches of various terms, conditions and covenants contained in the Agreement.”

           Howmedica Osteonics Corp. (d/b/a Stryker Orthopaedics) is a global leader

in the development, manufacture, and sale of orthopaedic implants, instruments,

and other orthopaedic products and services. Stryker’s reconstructive orthopedic

products are used for the surgical replacement of hips, knees, and shoulder and

elbow systems. Orthopedic trauma products are used for the surgical treatment of

bone fractures, abnormalities and diseases of the hands, arms, hips, pelvis, legs,

ankles, and feet.1

           MAKO Surgical Corporation pioneered the advancement of robotic- arm

assisted surgery in orthopaedics.                       Stryker’s Mako robotic-arm assisted

reconstructive surgery is transforming orthopaedics, combining Stryker’s market-

leading implants with Mako’s proprietary robotic-arm technology.2

1
    Declaration of Lauren Venekas (Ex. A) at 1-2.
2
    Id. at 2.

                                                    3
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 4 of 35




           PPD is a distributer for Corin USA, among other companies. Corin is also

engaged in the development, production and distribution of a wide range of

reconstructive orthopaedic devices. Corin also works with orthopaedic surgeons to

develop and test its products. As such, Stryker and PPD are selling to the same

customer-market and are competitors.

B.         Defendants’ business is highly competitive and Defendants go to great
           lengths to keep proprietary information confidential.

           The business in which Stryker is engaged is extremely competitive and the

materials and information that Stryker’s employees, consultants and even third

party suppliers may have access to regarding Stryker's technologies, know-how,

products, services and sales are proprietary and confidential to Stryker.3 At all

relevant times, Stryker has gone to great lengths to protect its confidential and

proprietary information.

           For example, Stryker’s own Code of Conduct provides:

                    Confidential information: No employee or director will
                    use, for his or her own personal gain, or disclose to any
                    third party, any confidential or proprietary information
                    that he or she obtained as a result of his or her
                    employment with or relationship to the company.
                    Confidential or proprietary information includes all non-
                    public information that might be of use to competitors or
                    harmful to the company and its customers if disclosed. No
                    employee or director will buy, sell, or deal in the
                    company’s stock based on non-public information.4




3
    Ex. A at 2-3.
4
    Ex. A at 3; see also Stryker Code of Conduct and Corporate Policy No. 7 (Ex. E).

                                                           4
38943149v.2
       Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 5 of 35




          Like most companies, Stryker maintains a variety of electronic and other

business systems, and Stryker’s Corporate Policy governing electronic and other

business systems further requires strict protection of confidential and non-public

information contained therein.5 These systems are the property of Stryker and are

provided to employees to assist them in the conduct of the company’s business.6

Employees are required to properly use and protect from unintentional disclosure

and unauthorized access all such systems and all documents, files, back-up copies,

communications, images and recordings created on, handled by, or stored through

these systems. 7 Employees are not permitted to access or attempt to access another

employee’s electronic communications, voice communications or messages, or

computer files without the other employee’s permission or permission from the

employee’s supervisor.8 An employee is not permitted to share her/his password or

logon credentials unless expressly permitted by applicable local IT department’s

written policies or keep it in an unprotected manner that would allow an

unauthorized person access. Employees are not permitted to attempt to access, use

or tamper with any confidential or personal information that is maintained upon the

company’s system unless they have a business authorization to do so. 9

          Stryker also maintains non-compete agreements with its employees and

consultants, prohibiting those individuals from working as an employee, consultant,

5
  Id.
6
  Id.
7
  Id. at 3-4.
8
  Id.
9
  Id. at 4.

                                          5
38943149v.2
       Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 6 of 35




contractor, agent, or otherwise for, or rendering services directly or indirectly to,

any Conflicting Organization in which the services an employee may provide could

enhance the use or marketability of a Conflicting Product or Service by application

of Confidential Information which the employee has access to during employment. 10

          Angie Domingues’ husband, Brain Domingues, was employed by Stryker from

February, 2006 until July, 2014, when he resigned.11 Like any other Stryker

employee, Mr. Domingues had agreed to and was bound by Stryker’s Code of

Conduct governing Stryker’s Confidential Information.12

          Mr. Domingues also executed and was bound by an Employee Non-Compete,

Confidentiality and Fair Competition Agreement. 13         In that agreement, Mr.

Domingues agreed to abide by Stryker’s Code of Conduct and he acknowledged and

agreed that Strykers’ business operations, administrative and training processes

and procedures, pricing, formula, manufacturing processes, research and

development programs, analysis of competitive products, sales and marketing

strategies and customers, including customer lists, information concerning specialized

product development, and customers (including but not limited to customer lists,

pricing information, product information, analytical results of competitive product

comparisons, customer marketing data and purchasing patterns, applicable

discount codes, and planned research and development for its customer base in the


10
   Id.
11
   Id. at 5-6.
12
   Id.
13
   Id.

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38943149v.2
      Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 7 of 35




Sales and Marketing Region) were confidential and proprietary. Id. In doing so, Mr.

Domingues recognized and agreed that, if used in competition with Stryker, this

information would render “great and irrepairable harm to Stryker.”14

         Stryker has, at all relevant times, also required confidentiality agreements

with its sales representatives, consultants, and suppliers, including PPD, Mark

Ortmann and Dr. Adam Freedhand.

         Mark Ortmann was and still is a PPD Sales Representative.15 Prior to his time

with PPD, Mr. Ortmann was employed by Stryker and he entered into a non-

disclosure agreement.16

         Under this agreement, Mr. Ortmann recognized the confidential and

proprietary nature of Stryker’s business and agreed to maintain the confidentiality

of Stryker’s information. Mr. Ortmann’s agreement provides:

          1.1 The business in which Stryker is engaged is extremely
          competitive and that during my employment with Stryker I have
          received and will receive and have access to materials and information
          regarding Stryker's technologies, know-how, products, services and
          sales that are proprietary and confidential to Stryker. I recognize that
          these materials and information are an important and valuable asset
          to Stryker and that Stryker has a legitimate interest in protecting the
          confidential and proprietary nature of these materials and
          information.

         2.2 "Confidential Information" means know-bow, trade secrets, and
         technical, business and financial information and any other non-public
         information in any way learned by me dining my employment with

14
   Id. at 6-7; see also B. Domingues Employee Non-Compete, Confidentiality and Fair Competition Agreement,
STRPPD00000278-00000288 (CONFIDENTIAL) (Ex. F) at 6-7 (submitted in camera to the Court).
15
   Id. at 7.
16
   See Ortmann/Stryker Non-Disclosure Agreement, STRPPD000347-000354 (CONFIDENTIAL) (Ex. G) at 3-4
(submitted in camera to the Court).

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38943149v.2
      Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 8 of 35




         Stryker, including, but not limited to (a) prices, renewal dates and
         other detailed terms of customer or supplier contracts and proposals;
         (b) information concerning Stryker's customers, clients, referral
         sources and vendors, and potential customers, clients, referral sources
         and vendors, including, but not limited to, names of these entities or
         their employees or representatives, preferences, needs or
         requirements, purchasing or sales histories, or other customer or
         client-specific information; (c) supplier and distributor lists; (d) pricing
         policies, methods of delivering services and products, and marketing
         and sales plans or strategies; (a) products, product Imow-how, product
         technology and product development strategies and plans; (r)
         employees, personnel or payroll records or information; (g) forecasts,
         budgets and other non-public financial information; (h) expansion
         plans, management policies and other business strategies; (i)
         inventions, research, development, manufacturing, purchasing, finance
         processes, technologies, machines, computer software, computer
         hardware, automated systems, engineering, marketing, merchandising,
         and selling. 17

         The Sales Representative Agreement between PPD and MAKO likewise

includes an agreement by PPD not to disclose Defendant’s confidential

information.18

         Stryker also works in partnership with orthopaedic surgeons and other

healthcare professionals to develop and test Stryker’s products and technologies

through consulting and development agreements. These agreements include

descriptions and discussions of next generation products, trade secrets, software

innovations and proprietary and confidential business strategy.

         Dr. Adam Freedhand has worked as a consultant and developer with both

MAKO and Stryker Orthopaedics since April, 2010.19 Under Dr. Freedhand’s


17
  Id.
18
  Ex. A at 7; MAKO-PPD Sales Representative Agreement (Ex. H) (PPD007-PPS0061) at 7-8 (submitted in
camera to the Court).

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38943149v.2
      Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 9 of 35




consulting/development agreements, Dr. Freedhand agreed to serve as a contracted

developer for Stryker Orthopaedics.20 In doing so, Dr. Freedhand agreed, during all

relevant times, to abide by Stryker’s Code of Conduct and to keep Stryker’s

Confidential Information in confidence and not disclose such information to any

third party and to use Stryker’s Confidential Information only for the purpose of

carrying out his work and services under his Consulting/Development Agreements

with Stryker.21

         Stryker’s business is so competitive and its information so sensitive that

Stryker also requires agreements from its third party suppliers to protect Stryker’s

Confidential Information disclosed in the course of the supplier’s relationship with

Stryker.22 Similar to Stryker’s consultants and sales representatives, Suppliers must

also represent and warrant that they have read and agree to abide by Stryker’s Code

of Conduct, including the confidentiality provisions described above.23

C.       The Court entered an Agreed Protective Order September 22, 2016.

         On September 22, 2016, the Court entered an Agreed Protective Order “to

protect Confidential Information which will be produced by the parties.” Dkt. 34-1.

Under the Agreed Protective Order, “all confidential information produced or

exchanged in the course of litigation between Plaintiff and Defendants shall be used

solely for the purpose of this litigation…” Dkt. 34-1 ¶ 1.        Under the Agreed

19
   Ex. A at 2.
20
   Id.
21
   Id. at 8.
22
   Ex. A at 8.
23
   Id.

                                          9
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 10 of 35




Protective Order any party may designate documents and information it produces in

the course of this litigation as “Confidential Information” within the meaning of the

Agreed Protective Order. Dkt. 34-1¶9.

         The Agreed Protective Order defines “Confidential Information” as

“documentation relating to or containing any descriptions, discussions or mention

of any next generation products, research and development information, trade

secrets, patent-license agreements, or information that was generated in connection

with, or which reveals the content of patent-licensing negotiations, information

regarding software offerings that a party has treated as confidential and is not

subject to public disclosure, technical information such as product design and

manufacturing techniques or processing information, software innovations,

computer code, formulae, proprietary and confidential business strategy, forecasts,

business development, customer lists, marketing, sales, costs, pricing and/or profit

information, staffing, personal data, salary information, benefit information, or

information provided by customers, consultants or other third parties which is

subject to confidentiality agreements or any other information deemed as such by

the Court in this case.” Dkt. 34-1¶2.

         To the extent a producing party in good faith believes that a document

contains highly sensitive business or commercial Confidential Information, the

producing party may designate confidential documents as ATTORNEYS EYES ONLY.

Dkt. 34-1¶2.


                                         10
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 11 of 35




         Disclosure of Confidential Information is limited to Qualified Persons, defined

to include Plaintiff (including Angie Domingues, Brian Domingues and Mark

Ortmann), Defendants and their owners and employees, counsel, staff, expert

witnesses, the Court, and the trier of fact. Dkt. 34-1¶5. The parties are also

permitted to use Confidential Information during depositions, provided that the

witness (if not a Qualified Person) is a creator, sender or recipient of the

Confidential Information; or provided that, prior to disclosure, the witness agrees to

be bound by the Agreed Protective Order and executes the certification attached

thereto. Dkt. 34-1¶12.

         Disclosure of ATTORNEYS EYES ONLY Confidential Information is restricted

to Plaintiff (Angie and Briin Domingues), their counsel, counsel staff, expert

witnesses, the Court and the trier of fact. Dkt. 34-1¶6.

         Notably, parties designating information as Confidential or Attorney’s Eyes

Only are required to produce both redacted and non-redacted versions of the

confidential information. Dkt. 34-1¶3. The Agreed Protective Order provides that

“Confidential Information may be offered as an exhibit at trial, or attached to any

motions filed during the course of this litigation; however, when filing motions, the

parties will file the redacted version as provided by the producing party of any

document containing Confidential Information. Id. To the extent a non-redacted

version is necessary for the Court’s consideration of the motion, the utilizing party is

to provide a non-redacted version to the Court in camera and the producing party


                                            11
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 12 of 35




bears the burden of filing a motion to seal allowing the utilizing party to file the non-

redacted version under seal. Id.

         Relevant to this dispute, the Agreed Protective Order also articulates the

steps that the parties must take to challenge a producing parties Confidential

Information designation. The Agreed Protective Order provides that “Any party

may request that a designating party rescind a Confidential Information designation,

and such requests shall not be rejected absent a good faith determination by the

designating party that the Confidential Information is entitled to protection.” Dkt.

34-1¶15. If a challenge is made; however, the Agreed Protective Order requires “a

good faith effort to resolve any disputes regarding whether any designated

materials constitute Confidential Information or AEO.” Dkt. 34-1¶16.

D.       Stryker’s production of confidential and proprietary information
         pursuant to the Court’s 2/28/17 Order

         PPD’s first set of Requests for Production contained 54 separate requests.

PPD’s discovery requests sought a wide range of commercially sensitive,

proprietary and confidential information concerning Defendants’ relationships with

its customers including physicians and other healthcare providers and hospital

systems with regard to sales and distribution of MAKO and Stryker Orthopaedics

products, as well as documents relating to agreements for research and

development of new products and services.

         On February 28, 2017, the Court narrowed the scope and time period of PPD’s

requests, and ordered Stryker (the “Court’s Order”) to produce responsive

                                           12
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 13 of 35




documents on or before March 24, 2017. Stryker has produced over 60,000 pages

of documents, including the documents produced at Bates range STRPPD00000982-

00062936 in response to the Court’s Order.

           In response to the Court’s 2.28.17 Order, Defendants have produced by email

through a secure site the following documents:

3.24.17             Freedhand’s consulting file and Freedhand payments between 1.1.12 -
                    12.31.16, summaries of cases performed by Freedhand, MAKO cases
                    and MAKO robot sales in PPD’s Territory and MAKO robot sales
                    invoices (STRPPD00000966 - STRPPD00001832)

3.26.17             Additional documents (including emails by custodian, spreadsheets,
                    etc.) to, from, or related to PPD, Freedhand, including Freedhand’s
                    consulting file, MAKO weekly reports, MAKO sales information, as well
                    as documents responsive to other requests addressed by the Court’s
                    2.28.17 Order (STRPPD00001833 - STRPPD0061301)

3.27.17             Additional    documents      from     Freedhand’s consulting file
                    (STRPPD00001519 - STRPPD00001690) (inadvertently not in 3.24.17
                    production plus Natives of 3.26.17 production)

4.14.17             Additional documents    from  Freedhand’s           consulting   file
                    STRPPD000061302 - STRPPD000062006

4.19.17             Additional documents from Freedhand’s consulting file, including
                    Freedhand surgical observations, Freedhand 1099s as well as Kreuzer
                    surgical observations (STRPPD00062007-STRPPD00062916) Exhibit
                    A.

4.21.17             Additional documents from Freedhand’s consulting file re: 2011-2012
                    (STRPPD00062917-STRPPD00062936)24

           The Verified Appendix to Exhibit B also describes in greater detail the

nature of the documents produced at Bates range STRPPD00000982-00062936.


24
     See Declaration of Karen Hassevoort (Ex. B) at App’x B.

                                                         13
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 14 of 35




         As discussed below, Plaintiff wrongfully and unreasonably made a blanket

challenge to documents produced by Defendants at bates range STRPPD00000982-

00062936 and designated CONFIDENTIAL/ATTORNEY’S EYES ONLY.

         These documents contain information regarding Stryker’s sales figures by

customer and Sales Representative; highly specific information on Stryker’s

customers, including their background, their interests, their needs and Stryker’s

efforts in addressing them; business plans; sales and marketing strategies, customer

relationship information; product and sales information and research and

development information. The information contained in these documents is the

type of information that Stryker considers to be its highly confidential and

proprietary information which would give a competitor an advantage to compete

against Stryker, would cause irreparable harm to Stryker if disclosed publicly and

should not be disclosed outside of this litigation.

         Accordingly, Stryker produced non-redacted and redacted versions of the

records to Plaintiff in this litigation and such information was marked as

“CONFIDENTIAL” and in some cases “ATTORNEY’S EYES ONLY”.

E.       The Deposition of Dr. Freedhand.

         Dr. Freedhand, a Stryker consultant, was deposed by the Plaintiff on April 21,

2017. During the deposition, Plaintiff marked as Exhibits numerous documents

designated by Defendants as CONFIDENTIAL/ATTORNEY’S EYES ONLY. Plaintiff

also questioned Dr. Freedhand regarding these exhibits, eliciting testimony from Dr.


                                           14
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 15 of 35




Freedhand about Defendant’s confidential business operations and processes.

Pursuant to the Agreed Protective Order, counsel for Defendants designated Dr.

Freedhand’s testimony Confidential Information.25

F.       Defendants’ meet and confer efforts and Plaintiff’s outright refusal to
         attempt same.

         On April 24, 2017, counsel for Plaintiff, Jessica Hallmark, emailed counsel for

Defendants and without any support, merit, or specificity demanded that

Defendants remove the confidential and AEO designations from all of Dr.

Freedhand’s deposition exhibits, Freedhand’s deposition testimony and documents

produced at Bates range STRPPD00000982-00062936.26 Ms. Hallmark’s email

states:


                 Please remove your confidential and attorneys eyes only
                 designation of the documents and deposition for which
                 Plaintiff is challenging. Please be advised that Plaintiff
                 challenges Defendants designation of Dr. Freedhand’s
                 deposition, as well as the exhibits attached to same, as
                 confidential. Furthermore, Plaintiff challenges Defendants
                 confidential designation of Defendants’ documents bates
                 labeled STRPPD00000982-STRPPD00062936. 27

         Other than her unsupported blanket challenge to the deposition exhibits.

deposition testimony and what is more than 61,000 documents, Plaintiff made no

effort to identify any single document or group of documents or testimony that

Plaintiff believed had been improperly designated by Defendants as Confidential


25
   See Freedhand Dep. at 396:25-397:8 (Ex. C).
26
   See Email correspondence dated April 24 - May 1, 2017, between J. Hallmark and J. Coleman (Ex. D).
27
   Ex. D, Email from J. Hallmark to J. Coleman, April 24, 2017 at 5:18 p.m.

                                                      15
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 16 of 35




Information. Thus, because of Plaintiff’s lack of any explanation or specificity,

Plaintiff’s conduct is designed to harass Defendants, harm Defendants in the

marketplace, cause needless expense, cause a needless waste of time             and/or

continue a pattern of scorched-earth tactics.

           Counsel for Defendants, Jesse Coleman, responded on April 27, 2017. Mr.

Coleman’s email states,

                    I am writing in response to your email below. We
                    would like to engage in a good faith effort to resolve
                    any dispute you may have regarding whether these
                    designated      materials     properly      constitute
                    confidential materials before it becomes necessary
                    to seek any relief from the Court.

                    You have asked us to remove our designations to
                    nearly 60,000 pages of materials. We believe a
                    more reasonable approach would be for you to
                    identify specific documents (or even groups of
                    related documents) that you intend to use and do
                    not believe are properly designated, and we would
                    then be happy to discuss whether a change needs to
                    be made to their designation.28

           Despite Defendants’ reasonable and required attempt to resolve this dispute

in good faith, Ms. Hallmark outright refused. In an email dated April 27, 2017, Ms.

Hallmark again responded with another blanket assertion that “I do not believe that

any of the documents that have been marked confidential and have been redacted

rise to the level of needing to be sealed.”29




28
     Ex. D, Email from J. Coleman to J. Hallmark, April 27, 2017 at 2:29 p.m.
29
     Ex. D, Email from J. Hallmark to J. Coleman, April 27, 2017 at 4:51 p.m.

                                                          16
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 17 of 35




         Several additional emails were exchanged April 27, including an email from

Defendants’ counsel imploring her to engage in a good faith effort to identify and

discuss specific documents to which she may or may not have a challenge. In doing

so, Defendants’ counsel emphasized that, “A blanket request to de-designate the

confidentiality of tens of thousands of documents without any attempt to specify

why these documents are not properly designated does not constitute a good

faith effort…”30

          Ms. Hallmark responded later that evening, stating, “If there are specific

documents for which you have a valid basis for your claims- then I will be happy to

reconsider but at this time - based on my review- I believe that they have been

improperly designated.”31 Clearly, Ms. Hallmark’s refusal to engage in a good faith

discussion and blanket assertion is designed to burden Defendants, attempt to

improperly shift her burden to identify specific designations and continue her

scorched earth tactics.

         Mr. Coleman responded on Friday, April 28, 2017. Mr. Coleman’s email

states:

                 As to the burdens regarding confidentiality and the
                 remainder of Defendants’ production, a good-faith
                 effort to resolve any disputes regarding whether
                 any designated materials constitute Confidential
                 Information or AEO information necessarily entails
                 identifying those materials with some reasonable
                 particularity. You have not, at this time, done so. 32

30
   See Ex. D, Email from J. Coleman to J. Hallmark, April 27, 2017 at 6:33 p.m.
31
   Ex. D, Email from J. Hallmark to J. Coleman, April 27, 2017 at 7:54 p.m.
32
   Ex. D, Email from J. Coleman to J. Hallmark, April 28, 2017 at 2:04 p.m.

                                                        17
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 18 of 35




            Ms. Hallmark responded later that day: “I consider the discussion that took

place over the prior two days to satisfy the good faith discussion, thereby invoking

the 14 day deadline as to all of the documents at issue as of yesterday.”33 Ms.

Hallmark discussed nothing, and made only her unsupported blanket assertion.

            Mr. Coleman responded the following Monday, “While I do not believe you

have engaged in a good faith effort to resolve our discovery disputes, I will consider

us at an impasse on discussing this matter as of Friday, April 28, 2017, and will file

our motion for protection with that in mind.”34

     III.     STANDARDS FOR GRANTING THIS MOTION FOR PROTECTIVE ORDER.

            The Federal Rules of Civil Procedure empower a district court to limit the use

of discovered documents or information. Fed. R. Civ. P. 26(c); Harris v. Amoco Prod.

Co., 768 F.2d 669, 684 (5th Cir. 1985). Rule 26(c) (1)(G) of the Federal Rules of Civil

Procedure provides as follows:

            In General. A party or any person from whom discovery is sought may
            move for a protective order in the court where the action is pending ...
            The court may, for good cause, issue an order to protect a party or
            person from annoyance, embarrassment, oppression, or undue burden
            or expense, including one or more of the following:

            (G)     requiring that a trade secret or other confidential research,
                    development, or commercial information not be revealed or be
                    revealed only in a specified way.




33
     Ex. D, Email from J. Hallmark to J. Coleman, April 28, 2017 at 6:52 p.m.
34
     Ex. D, Email from J. Coleman to J. Hallmark, May 1, 2017 at 2:35 p.m.

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38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 19 of 35




         Fed. R. Civ. P. 26(c)(1)(G).35

         If the party from whom discovery is sought shows “good cause,” the

presumption of free use dissipates, and the district court can exercise its sound

discretion to restrict what materials are obtainable, how they can be obtained, and

what use can be made of them once obtained. Harris v. Amoco Prod. Co., 768 F.2d

669, 684 (5th Cir. 1985) (citing General Dynamics Corp. v. Selb Manufacturing Co.,

481 F.2d 1204, 1212 (8th Cir.1973), cert. denied, 414 U.S. 1162, 94 S.Ct. 926, 39

L.Ed.2d 116 (1974));

         “[T]he burden is upon [the party seeking the protective order] to show the

necessity of its issuance, which contemplates a particular and specific

demonstration of fact as distinguished from stereotyped and conclusory

statements.” In re Terra Int'l, 134 F.3d 302, 306 (5th Cir. 1998) (quoting United

States v. Garrett, 571 F.2d 1323, 1326 n. 3 (5th Cir. 1978)). A party resisting

discovery under Federal Rule of Civil Procedure 26(c)(1)(G) “must first establish

that the information sought is a trade secret or other confidential information and

then demonstrate that its disclosure would cause an identifiable, significant harm.”

Sanchez v. Prop. & Cas., CIV.A.H-09-1736, 2010 WL 107606, at *1 (S.D. Tex. Jan. 7,

2010) (citing Stone Connection, Inc. v. Simpson, 2008 WL 1927033, at *1 (E.D.Tex.

Apr.28, 2008); Occidental Chemical Corp. v. Louisiana Public Service Commission,


35
  Paragraph 17 of the September 2016 Agreed Protective Order specifies that the party that designated documents
as confidential “shall have the burden to establish that party’s right to protection as if this Order did not exist.”
Under Fed. R. Civ. P. 26(c)(1)(G), the information at issue is without question Confidential Information, the public
disclosure of which would cause Defendants significant harm.

                                                         19
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 20 of 35




2008 WL 566833, at *2 (M.D.La. Feb.29, 2008)); see also 8 C. Wright & A. Miller,

Federal Practice and Procedure § 2043 (1970) (“Besides showing that the

information qualifies for protection, the moving party must also show good cause

for restricting dissemination on the ground that it would be harmed by its

disclosure.”).

         For good cause, the court may “issue an order to protect a party or person

from annoyance, embarrassment, oppression, or undue burden or expense,

including ... requiring that a trade secret or other confidential research,

development, or commercial information not be revealed or be revealed only in a

specified way.” Fed. R. Civ. P. 26(c)(1)(G). The district court has broad discretion in

determining whether to grant a motion for a protective order. Harris, 768 at 684

(holding “[a]n employer's interest in preserving the confidentiality of its records for

some purposes is sufficient “good cause” and issuing protective order limiting

EEOC’s use of employer’s age and sex data to the present litigation.)




                                          20
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 21 of 35




                                  IV.   ARGUMENT

A.       At all relevant times, the documents and information challenged by
         Plaintiff has been kept confidential, private and protected from public
         disclosure.

         1.    The information contained within the Freedhand Deposition
               Exhibits marked CONFIDENTIAL or ATTORNEYS’ EYES ONLY is
               Confidential Information.

         Plaintiff has wrongfully challenged the Confidential Information designation

for the Freedhand Deposition Exhibit Nos. 3-27, 29-32, 34, 36, 38, 39 and 43-45. As

shown in the Verified Exhibit A-1, these documents contain highly competitive

information regarding Defendants’ financial information, business operations,

product information, proprietary research and development processes, and

business, sales and marketing strategies.       See Duoline Techs., L.L.C. v. Polymer

Instrumentation & Consulting Services, Ltd., 557 Fed. Appx. 379 (5th Cir. 2014) (“The

Court has little difficulty concluding that the pricing quotations, purchase orders,

invoices, cancelled checks for purchases, bills of lading, custom papers, commercial

invoices, samples of molded products, and “[d]ocuments that reflect product

specifications” related to any of CLS' business dealings with Defendants and other

third parties contain confidential commercial information.”). Accordingly, these

documents were designated CONFIDENTIAL or ATTORNEY’S EYES ONLY pursuant

to the terms of the Agreed Protective Order.

         Notwithstanding the protections afforded Defendants under the Agreed

Protective Order, Defendants have at all relevant times nevertheless protected the


                                          21
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 22 of 35




information detailed in Verified Exhibit A-1 from public disclosure by requiring

employees, consultants and sales representatives, including PPD, to execute

confidentiality agreements and adhere to Stryker’s confidentiality policies. 36

Consistent with Stryker’s internal company policy and consistent with Stryker’s

confidentiality agreements with PPD, consultants, vendors, and even suppliers,

Stryker has only distributed this information to individuals who are specifically

authorized to receive and/or view it.37

         Pursuant to Stryker’s Code of Conduct and the numerous confidentiality

agreements         between        Stryker       and     its    employees,         consultants   and   sales

representatives, there is no question that this testimony is regarding information

that has always been treated by Defendants (and by Plaintiffs) as confidential and

proprietary.38 This information at issue has never been publically disclosed and

there is no legitimate reason why it should be subject to public disclosure now.

         2.      Dr. Freedhand’s deposition testimony regarding documents marked
                 CONFIDENTIAL/ATTORNEYS’ EYES ONLY is also Confidential
                 Information.

         To the extent Dr. Freedhand was asked questions about Defendants

confidential information, such testimony should also remain confidential and

protected from public disclosure. During Dr. Freedhand’s deposition, and pursuant

to the terms of the Agreed Protective Order, counsel for Defendants advised

opposing counsel and the Court Reporter that Dr. Freedhand’s testimony regarding

36
   Ex. A at 3-7; Ex. B at 1-2.
37
   Ex. A at 10, 13.
38
   Ex. A at 9; see also Stryker Code of Conduct and Corporate Policy 7 (Ex. E).

                                                        22
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 23 of 35




documents marked CONFIDENTIAL or ATTORNEY’S EYES ONLY is Confidential

Information.

         Verified Exhibit A-2 specifically identifies the deposition testimony for

which Defendants seek protection. As illustrated in Verified Exhibit A-2, this

testimony concerns highly competitive information regarding Defendants’ financial

information, business operations, product information, proprietary research and

development processes, and business, sales and marketing strategies. It also falls

squarely within the scope of Stryker’s Code of Conduct and the confidentiality

provisions set forth within the various consulting and development agreements

between Stryker and Dr. Freedhand. 39 Dr. Freedhand’s testimony regarding

Stryker’s highly competitive commercial information also meets the definition of

Confidential Information set forth within the Agreed Protective Order.

         Again, at all relevant times, Defendants protected the information detailed in

Verified Exhibit A-2 by requiring employees, consultants and sales representatives,

including PPD, to execute confidentiality agreements and adhere to Stryker’s

confidentiality policies.40 Consistent with Stryker’s internal company policy and

consistent with Stryker’s confidentiality agreements with PPD, consultants, vendors,

and even suppliers, Stryker has only distributed this information to individuals who

are specifically authorized to receive and/or view it.41



39
   See, e.g., Ex. E, F, G, H.
40
   Ex. A at 3-7; Ex. B at1-2;
41
   Ex. A at 10, 13.

                                           23
38943149v.2
       Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 24 of 35




           Pursuant to Stryker’s Code of Conduct and the numerous confidentiality

agreements           between   Stryker   and   its   employees,   consultants   and   sales

representatives, there is no question that this testimony is regarding information

that has always been treated by Defendants (and by Plaintiff) as confidential and

proprietary. The information at issue has never been publicly disclosed and there is

no legitimate reason why it should be subject to public disclosure now.

           3.      The documents at Bates Nos. STRPPD00000982-00062936 and
                   designated CONFIDENTIAL/ATTORENY’S EYES ONLY also contain
                   Confidential Information.

           Finally, Plaintiff has asserted a non-specific blanket challenge to documents

produced by Defendants at bates nos. STRPPD00000982-00062936.                     Despite

Plaintiff’s refusal to specifically identify or discuss any of the Confidential

Information designations contained within what is roughly 61,000 documents

challenged by Plaintiff, Defendants undertook a detailed review of the documents at

issue and made a good faith effort determination that the information within the

documents designated CONFIDENTIAL and/or ATTORNEY’S EYES ONLY is highly

sensitive commercial information regarding the business conducted by Defendants.

42


           The documents produced within this bates range include highly sensitive

consultant and/or development agreements (and payments related to same)

(marked ATTORNEYS ONLY), communications with consultants, communications


42
     See Ex B, App.’x.

                                               24
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 25 of 35




with customers, marketing strategies, business plans, pricing information,

information regarding customer relationships, customer lists, training materials,

growth analysis, developer performance tracking documents, project development

documents, case lists, surgical observations, proprietary clinical research,

instrumentation plans, product comparisons, and personnel information related to

employees. 43           This bates range contains information regarding Defendants’

relationships with customers, surgeon consultants, hospitals and other healthcare

providers, defendant’s revenues, sales and distribution of MAKO and Stryker

Orthopaedics products, as well as documents relating to agreements for research

and development of new products and services with customers, physicians, hospital

systems, and other healthcare providers. 44

           These documents also contain information regarding Stryker’s marketing and

development strategies, including surgeon developed curriculum, training and

continuing education materials and materials related to Stryker’s proprietary

customer events hosted by Stryker’s surgeon consultants. These documents further

contain highly specific information regarding sales, and highly specific information

on Stryker’s customers, including their background, their interests, their needs and

Stryker’s efforts in targeting them; business plans by branch containing customer

relationship information and sales strategies; product price lists and product and




43
     Ex. B, App.’x; Ex. A at 11-12.
44
     Ex. A at 11-12.

                                             25
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 26 of 35




sales information.45 See also Citizens First Nat. Bank of Princeton v. Cincinnati Ins. Co.,

178 F.3d 943, 946 (7th Cir. 1999). (“We do not suggest that all determinations of

good cause must be made on a document-by-document basis. In a case with

thousands of documents, such a requirement might impose an excessive burden on

the district judge or magistrate judge.”).

         Again, Defendants have at all relevant times protected this information from

public disclosure by requiring employees, consultants and sales representatives,

including PPD, to execute confidentiality agreements and adhere to Stryker’s

confidentiality policies.46 Consistent with Stryker’s internal company policy and

consistent with Stryker’s confidentiality agreements with PPD, consultants, vendors,

and even suppliers, Stryker has only distributed this information to individuals who

are specifically authorized to receive and/or view it. 47

         Pursuant to Stryker’s Code of Conduct and the numerous confidentiality

agreements          between      Stryker   and   its   employees,   consultants   and   sales

representatives, there is no question that this testimony is regarding information

that has always been treated by Defendants (and by Plaintiffs) as confidential and

proprietary. Ex. A, p. 9. Like the exhibits and testimony above, this information at

issue has never been publically disclosed and there is no legitimate reason why it

should be subject to public disclosure now.



45
   Id.
46
   Ex. A at 3-7; Ex. B at 1-2.
47
   Ex. A at 10, 13.

                                                 26
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 27 of 35




B.         Defendants would suffer significant harm if its confidential information
           was publically disclosed.

           Disclosure to a competitor is presumptively more harmful than disclosure to

a non-competitor. Duoline Techs., L.L.C. v. Polymer Instrumentation & Consulting

Services, Ltd., 557 Fed. Appx. 379 (5th Cir. 2014) (citing Echostar Commc'ns Corp. v.

The News Corp. Ltd., 180 F.R.D. 391, 395 (D. Col. 1998)). There is no dispute in this

case that Plaintiff and Defendants are competitors. The practical effect of denying

Defendants protection in this case would allow Plaintiff’s to use Defendants

information outside the context of this lawsuit for the purpose of gaining a

competitive advantage over Defendants. Absent protection, there is no question

that Defendants will suffer competitive harm.

           Defendants’ confidential and proprietary information challenged by Plaintiff

is collected and maintained by Defendants in an effort to “improve its sales as a

manufacturer and seller of reconstructive orthopaedic and trauma products and

maintain its competitive edge in the market place.”48 Consequently, Stryker’s

confidential and proprietary information is of significant economic value to

Defendants. Id. Public disclosure of Defendants confidential information would

cause extreme competitive harm to defendants and put Defendants at an extreme

competitive disadvantage.49 Indeed, Plaintiff’s own representatives have explicitly




48
     Ex. A at 10, 13.
49
     Id. 10-11, 13-14

                                            27
38943149v.2
        Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 28 of 35




recognized and agreed that “great and irreparable harm to Stryker” will result

public disclosure of its confidential information.50

           The Declaration of Lauren Venekas establishes the highly competitive nature

of Defendants’ business, the significant measures taken by Defendants to protect its

information from public disclosure, and the extreme competitive commercial harm

and competitive disadvantage that Defendants would suffer from public disclosure

of its confidential and proprietary information. A protective order is therefore

necessary in this case to protect Defendants from being put in a competitive

disadvantage. Defendants have shown good cause for entering a protective order,

protecting Defendants confidential information from public disclosure.

C.         The balancing of interests weighs in favor of protection.

           In determining whether “good cause” exists, courts also balance the

competing interests of allowing discovery and protecting parties from commercial

harm. See Bucher v. Richardson Hosp. Auth, 160 F.R.D. 88, 92 (N.D. Tex. 1994);

Duoline Techs., LLC v. Polymer Instrumentation, MO-12-MC-061, 2012 WL 12871906,

at *6 (W.D. Tex. Nov. 26, 2012), order modified and remanded sub nom. Duoline

Techs., L.L.C. v. Polymer Instrumentation & Consulting Services, Ltd., 557 Fed. App’x

379 (5th Cir. 2014).

           Critical to this motion is the fact that, for purposes of this lawsuit, Plaintiff has

complete and unlimited access to the information that Defendants have designated


50
     Ex. A at 6.

                                                28
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 29 of 35




as CONFIDENTIAL and ATTORNEY’S EYES ONLY, subject only to certain procedural

requirements set forth in the Agreed Protective Order governing the use and filing

of same. Defendants are not withholding discovery or information from Plaintiff.

These records have already been produced to Plaintiff in both redacted and non-

redacted form. And, it is the Defendants, not Plaintiff which bears the burden of

obtaining an order to seal confidential information in the event that filing

information designated as confidential becomes necessary.

         Defendants are merely trying to prevent public disclosure of information that

is and has always been treated as confidential. Under these circumstances, Plaintiff

cannot overcome the good cause that Defendants established for the confidentiality

of its proprietary and commercial information.                             Plaintiff’s apparent made-up

justification for needlessly and broadly objecting to the confidential designations is

that Plaintiff does not want to be inconvenienced during a deposition (to the extent

Plaintiff relies upon confidential information that a witness must agree to keep

confidential)51 or upon filing a motion that requires submission of documents to the

Court in camera. Neither of these purported circumstances outweighs Defendants’

interest in protecting the confidential nature of Defendants’ commercial information

that has been produced in this case.

         Therefore, the Court should grant protection to these confidential files and

documents as a matter of law.

51
  Indeed, the Agreed Protective Order allows Plaintiff to use Confidential Information during depositions as long as
the witness agrees to keep the information confidential under the terms of the Agreed Protective Order. Dkt. 34-1¶
13.

                                                         29
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 30 of 35




D.       Plaintiff’s blanket challenge and refusal to meet and confer ignores the
         court ordered procedures set forth in the Agreed Protective Order.

         The Agreed Protective Order requires Plaintiff to specifically challenge the

information Defendants designated as Confidential Information and to meet and

confer in good faith regarding same. The Agreed Protective Order provides:


               15. Any party may request that a designating party
               rescind a Confidential Information designation, and
               such requests shall not be rejected absent a good faith
               determination by the designating party that the
               Confidential Information is entitled to protection.

                16. After making a good faith effort to resolve any
               disputes regarding whether any designated materials
               constitute    Confidential    Information       or    AEO
               information, counsel of the party or parties receiving
               the Confidential Information or AEO may challenge
               such designation of all or any portion thereof by
               providing written notice of the challenge to the
               designating party’s counsel. The designating party shall
               have fourteen (14) days from the date of receipt of a
               written challenge to file a motion for specific protection
               with regard to any Confidential Information or AEO in
               dispute….” Dkt. 34-1¶16.

         Plaintiff’s blanket challenge to over 60,000 documents produced in this case

and refusal to identify specific designations or meet and confer ignores the court

ordered procedures set forth in the Agreed Protective Order. Plaintiff asserted a

non-specific blanket challenge to over 61,000 documents produced by Defendants

in this case, some of which are marked CONFIDENTIAL and some of which are

marked ATTORNEY’S EYES ONLY. Out of these 61,000 documents, Plaintiff refused

to identify any specific document or even groups or categories of documents that

                                            30
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 31 of 35




Plaintiff     believes    have   been   improperly   designated    by   Defendants    as

CONFIDENTIAL.            Likewise, Plaintiff has refused to specifically identify the

documents that Plaintiff believes are improperly designated as ATTORNEY’S EYES

ONLY.

         Plaintiff also asserted a blanket challenge to the Freedhand deposition

exhibits, refusing to identify any specific document or even categories of documents

that Plaintiff believes has been improperly designated.

         In similar fashion, Plaintiff has in no uncertain terms refused to engage in any

discussion whatsoever regarding the reasons that Plaintiff believes Defendants’

designation of Confidential Information should be removed.

         The Agreed Protective Order speaks to specific challenges of a Confidential

Information designation and, following a good faith effort to resolve a dispute, a

specific motion for protection. In a case with thousands of documents, such as this,

these procedures are designed to protect a producing parties’ legitimate interest in

preserving the confidentiality of its proprietary and trade secret information and

prevent the inevitable commercial harm that would result from the public

disclosure from same and avoid an excessive, if not impossible burden upon the

producing party and upon the district judge or magistrate judge. Absent specific

challenges and a good faith effort to confer with Defendant regarding defendants

confidential designations, Defendant’s information should remain protected from

public under the terms of the Agreed Protective Order.


                                            31
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 32 of 35




E.       Defendants request an in camera inspection to the extent necessary

         Alternatively and to the extent necessary, Defendant requests permission to

submit the documents being challenged by PPD to the Court for a review in camera,

and that the Court maintain Defendant’s Confidential Information designations

pending the Court’s review of same.

                           V.    MOTION FOR SANCTIONS

                 PPD should be sanctioned for this discovery abuse

         PPD’s blanket and wrongful challenge to the confidentiality designation of

more than 61,000 pages of documents, its blanket and wrongful challenge to every

exhibit marked Confidential in the Dr. Freedhand deposition, its blanket and

wrongful challenge to the confidentiality of any of Dr. Freedhand’s testimony, its

abject and blatant refusal to identify with any specificity the nature of its challenge

or the specific documents at issue, and its outright refusal to engage in a good-faith

effort to resolve this discovery dispute and provide any detail regarding the nature

of its challenge, is an abuse of discovery. It has manipulated this Court’s Agreed

Protective Order and abused the authority the Court has provided the parties under

the Order to address discovery disputes.       Accordingly, Defendants respectfully

request that this Court award Defendants sanctions for the cost of preparing and

arguing this Motion for Protection. See Fed. R. Civ. P. 37 (expenses may be awarded

for failure to follow court order); Frame v. S-H, Inc., 967 F.2d 194, 202 (5th Cir.




                                          32
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 33 of 35




1992) (imposition of discovery sanctions was a matter of discretion for the district

court).

                                  VI. CONCLUSION

         Absent an order ruling that these documents will continue to be treated as

confidential pursuant to the Agreed Protective Order, Defendants’ overriding

interest in the protection of its confidential information would certainly be

destroyed due to its public disclosure. Accordingly, Defendants respectfully request

that the Court issue an Order maintaining the confidentiality designations for the

documents produced by Defendants at STRPPD00000982-00062936 and the

Freedhand deposition exhibit nos. 3-27, 29-32, 34, 36, 38, 39 and 43-45. Defendants

also seek an order designating as CONFIDENTIAL and/or ATTORNEY’S EYES ONLY

the deposition testimony identified in Verified Exhibit A-2, attached to the

supporting Declaration of Lauren Venekas. Finally, Defendants request that the

Court sanction PPD for their deliberate failure to follow this Court’s Stipulated

Protective Order and refusal to identify specific designations nor meet and confer in

good faith.



DATED: May 11, 2017




                                         33
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 34 of 35




                                         Respectfully submitted,

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                                        34
38943149v.2
     Case 4:16-cv-00507 Document 97 Filed on 05/11/17 in TXSD Page 35 of 35




                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was
served upon the counsel of record listed below by the Southern District of Texas ECF
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                                         35
38943149v.2
